
625 S.E.2d 549 (2005)
STATE
v.
Paul Dewayne CUMMINGS.
No. 1A05.
Supreme Court of North Carolina.
November 23, 2005.
William N. Farrell, Senior Deputy Attorney General, Ben David, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 22nd day of November 2005 by Defendant for Extension of Time to Serve Proposed Record on Appeal:
"Motion Allowed. Defendant shall have up to and including the 23rd day of December 2005 to serve his/her proposed record upon the district attorney. The parties shall then proceed to settle and file the record on appeal pursuant to the provisions of Appellate Rules 11 and 12. By order of the Court in conference this the 23rd day of November 2005."
